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Judge George A. O’Toole December 4, 2017
United States District Judge

John Joseph Moakley U.S. Courthouse

1 Courthouse Way, Suite 2300

Boston, MA 02210

Re: Case No. 04-cr-10029
Dear Judge O’Toole:

I just wanted to send a quick letter to say “Thank you” for your Clerk locating and
putting on PACER my last two filings that were missing in action during the week of
Thanksgiving. The young man that helps me with my pro-se filings said that Your Honor’s
Clerk was very helpful in locating the filings and getting them docketed on PACER. l have two
more pro-se filings to go, and would appreciate Your Honor scheduling a hearing for Oral
Argument in January, and my wife and I will hire local counsel to argue these new motions (as
well as the old) in front of the Court.

Your Honor should know that I am extremely grateful to Your Honor’s Clerk because,
while I was at Canaan, I helped over 70 inmates with their post-conviction filings, including
Appeals, 2255 Petitions, and 3582 Motions under the “two-point” reduction. Those filings were
“always” lost. As Your Honor knows, Judge Patti Saris is the Chair of the Sentencing
Guidelines Commission, and we always made it a point to quote her in all of our fllings. Sufiice
it to say, I arn very proud of the fact that we had over three dozen sentences reduced under
§3582, with the shortest being 10 months taken off and the longest being four years and 10
months. Additionally, before I got to Canaan, no one got more than three months of Halfway
House time and now six months is the norm, and a number of my “friends” received nine months
to a year at Halfway House and Home Confmement.

The reason that I mention this to Your Honor is that sentencing for “non-violent” drug
crimes is still incredibly irrational in this Country, and the opioids that are killing people are
manufactured in China, shipped by Alibaba, and are not coming in from Mexico. There are no
“Fentanyl” cartels in Mexico, and the best marijuana is grown hydroponically in Canada.
Anyone who has spent any time in an American prison Would know that. Sentencing people for
more than a year or two for cocaine, marijuana, or even meth is just ridiculous.

In any event, I wanted to thank Your Honor’s Clerk for keeping watch over my case, and
I hope that Your Honor can schedule a hearing date in late December or early January to hear
arguments on these various motions. In the meantime, I wish all of Your Honor’s family and
staff a Happy and Healthy Holiday Season.

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18 Pond Side Lane
West Simsbury, CT 06092

